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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION
__________________________________________
                                           )
CENTER FOR SUSTAINABLE COAST, INC.,        )
                                           )
            Plaintiff,                     )
                                           )
      v.                                   )    Case No. 4:18-cv-00251-JRH-CLR
                                           )
UNITED STATES ARMY CORPS OF                )
ENGINEERS, et al.,                         )
                                           )
            Federal Defendants.            )
__________________________________________)

                            FEDERAL DEFENDANTS’ ANSWER

       Pursuant to Fed. R. Civ. P. 8, the United States Army Corps of Engineers (“Corps”), an

agency of the United States of America, Lieutenant General Todd T. Semonite, in his official

capacity as Commanding General of the U.S. Army Corps of Engineers, and Colonel Daniel

Hibner, in his official capacity as District Commander of the Savannah District (collectively,

“Federal Defendants”), 1 through undersigned counsel, hereby assert their defenses and answers

to Plaintiff’s Complaint dated October 31, 2018. ECF No. 1. The numbered paragraphs in this

Answer correspond to the numbered paragraphs in the Complaint. Federal Defendants

incorporate certain headings from the Complaint to assist in the structure and organization of the

Answer, but in doing so do not admit any allegation contained therein or waive any defense. 2




1
  Plaintiff also captions the Complaint against Tunis McElwain, former Chief of the Regulatory
Branch of the Savannah District, which is a vacant position.
2
  When a textual sentence is followed by a citation or citations, the textual sentence and its
accompanying citation are referred to as one sentence.
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                                        GENERAL DENIAL

          Federal Defendants deny any allegations contained in the Complaint, whether express or

implied, that are not expressly admitted, denied, or qualified herein.

                                         INTRODUCTION

1.        Federal Defendants admit that the Corps issued Department of the Army Permit Number

SAS-2015-00742 to Sea Island Acquisition, LLC on September 11, 2018 (“Permit”). The

remaining allegations contained in paragraph 1 purport to characterize the Permit. The Permit

speaks for itself and is the best evidence of its contents. Federal Defendants deny the allegations

to the extent they are inconsistent with the Permit. To the extent a response is required, Federal

Defendants deny any violation of law.

2.        Federal Defendants deny the allegations contained in paragraph 2 and deny any violation

of law.

3.        The allegations contained in paragraph 3 purport to characterize Plaintiff’s requested

relief and require no response. To the extent a response is required, Federal Defendants deny the

allegations, deny any violation of law, and deny Plaintiff is entitled to the requested relief or to

any relief whatsoever.

                                  JURISDICTION AND VENUE

4.        The allegations contained in paragraph 4 purport to characterize Plaintiff’s action and

require no response.

5.        The first allegation contained in paragraph 5 constitutes a conclusion of law regarding

jurisdiction, to which no response is required. The remaining allegations contained in paragraph

5 constitute conclusions of law and purport to characterize Plaintiff’s requested relief, to which




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no response is required. To the extent a response is required, Federal Defendants deny any

violation of law and deny Plaintiff is entitled to the requested relief or to any relief whatsoever.

6.     The allegations contained in paragraph 6 constitute conclusions of law, to which no

response is required.

7.     The allegations contained in paragraph 7 constitute conclusions of law, to which no

response is required.

                                             PARTIES

8.     Federal Defendants admit that the United States Army Corps of Engineers is a federal

agency headquartered in Washington, D.C. with a District Office in Savannah, Georgia. The

remaining allegations contained in paragraph 8 constitute conclusions of law, to which no

response is required.

9.     Federal Defendants admit that Lieutenant General Todd Semonite is the current

Commanding General of the United States Army Corps of Engineers. The remaining allegations

contained in paragraph 9 constitute conclusions of law, to which no response is required.

10.    Federal Defendants admit that Colonel Daniel Hibner is the current District Commander

in charge of the United States Army Corps of Engineers in Savannah, Georgia and that he signed

the Permit challenged in this case. The remaining allegations contained in paragraph 10

constitute conclusions of law, to which no response is required.

11.    Federal Defendants deny that Tunis McElwain is the “Chief of the Regulatory Branch of

the U.S. Army Corps of Engineers.” Federal Defendants admit that Tunis McElwain signed the

Corps’ Environmental Assessment, Finding of No Significant Impact, and Statement of Findings.

Federal Defendants aver that the Chief of the Regulatory Branch of the Savannah District of the




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U.S. Army Corps of Engineers position is currently vacant. The remaining allegations contained

in paragraph 11 constitute conclusions of law, to which no response is required.

12.    Federal Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 12 and, on that basis, deny the allegations.

13.    Federal Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 13 regarding Plaintiff Center for a Sustainable

Coast (“CSC”) and, on that basis, deny the allegations.

14.    Federal Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 14 and, on that basis, deny the allegations.

15.    Federal Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 15 and, on that basis, deny the allegations.

16.    Federal Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 16 and, on that basis, deny the allegations.

17.    Federal Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 17 regarding CSC’s members’ participation in

efforts to protect coastal resources along Sea Island and St. Simon’s Island and, on that basis,

deny the allegations.

18.     Federal Defendants deny the allegations contained in paragraph 18 and deny any

violation of law.

19.    Federal Defendants deny the allegations contained in paragraph 19 and deny any

violation of law.




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                      STATUTORY AND REGULATORY BACKGROUND

                                           Clean Water Act

20.        The allegations contained in paragraph 20 purport to characterize and selectively quote a

federal statute. The federal statute speaks for itself and is the best evidence of its contents.

Federal Defendants deny the allegations to the extent the allegations are inconsistent with the

statute.

21.        The allegations contained in paragraph 21 purport to characterize and selectively quote a

federal statute and regulations. The federal statute and regulations speak for themselves and are

the best evidence of their contents. Federal Defendants deny the allegations to the extent the

allegations are inconsistent with the statute and regulations.

22.        The allegation contained in paragraph 22 purports to characterize a federal statute. The

federal statute speaks for itself and is the best evidence of its contents. Federal Defendants deny

the allegation to the extent the allegation is inconsistent with the statute. In addition, the

allegation contained in paragraph 22 constitutes a conclusion of law, to which no response is

required.

23.        The allegations contained in paragraph 23 purport to characterize and selectively quote

federal regulations. The federal regulations speak for themselves, and are the best evidence of

their contents. Federal Defendants deny the allegations to the extent the allegations are

inconsistent with the regulations.

24.        The allegations contained in paragraph 24 purport to characterize a federal statute and

regulation. The federal statute and regulation speak for themselves and are the best evidence of

their contents. Federal Defendants deny the allegations to the extent the allegations are

inconsistent with the statute and regulation.



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25.    The allegations contained in paragraph 25 purport to characterize and selectively quote a

federal regulation. The federal regulation speaks for itself and is the best evidence of its

contents. Federal Defendants deny the allegations to the extent the allegations are inconsistent

with the regulation.

26.    The allegation contained in paragraph 26 purports to characterize and selectively quotes a

federal regulation. The federal regulation speaks for itself and is the best evidence of its

contents. Federal Defendants deny the allegation to the extent the allegation is inconsistent with

the regulation.

27.    The allegation contained in paragraph 27 constitutes a conclusion of law, to which no

response is required

28.    The allegation contained in paragraph 28 purports to characterize a federal regulation.

The federal regulation speaks for itself and is the best evidence of its contents. Federal

Defendants deny the allegation to the extent the allegation is are inconsistent with the regulation.

                               National Environmental Policy Act

29.    The allegations contained in paragraph 29 purport to characterize and selectively quote a

federal statute and regulations. The federal statute and regulations speak for themselves and are

the best evidence of their contents. Federal Defendants deny the allegations to the extent the

allegations are inconsistent with the statute and regulations.

30.    The allegations contained in paragraph 30 purport to characterize and selectively quote a

federal regulation. The federal regulation speaks for itself and is the best evidence of its

contents. Federal Defendants deny the allegations to the extent the allegations are inconsistent

with the regulation.




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31.     The allegation contained in paragraph 31 purports to characterize a federal statute. The

federal statute speaks for itself and is the best evidence of its contents. Federal Defendants deny

the allegation to the extent the allegation is inconsistent with the statute.

32.     The allegation contained in paragraph 32 purports to characterize a federal statute and

regulations. The federal statute and regulations speak for themselves and are the best evidence

of their contents. Federal Defendants deny the allegation to the extent the allegation is

inconsistent with the statute and regulation.

33.     The allegation contained in the first sentence of paragraph 33 purports to characterize a

federal statute. The federal statute speaks for itself and is the best evidence of its contents.

Federal Defendants deny the allegation to the extent the allegation is inconsistent with the

statute. The allegation contained in the second sentence of paragraph 33 purports to characterize

and selectively quotes a United States Court of Appeals for the Ninth Circuit decision. The

decision speaks for itself and is the best evidence of its contents. Federal Defendants deny the

allegations to the extent the allegations are inconsistent with the decision.

34.     The allegation contained in paragraph 34 purports to characterize a federal statute. The

federal statute speaks for itself and is the best evidence of its contents. Federal Defendants deny

the allegation to the extent the allegation is inconsistent with the statute.

                         THE ADMINSTRATIVE PROCEDURE ACT

35.     The allegations contained in paragraph 35 constitute conclusions of law, to which no

response is required. The allegations also purport to characterize a federal statute. The federal

statute speaks for itself. Federal Defendants deny the allegations to the extent the allegations are

inconsistent with the statute.




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36.        The allegation contained in paragraph 36 purports to characterize and selectively quotes a

federal statute. The federal statute speaks for itself and is the best evidence of its contents.

Federal Defendants deny the allegation to the extent the allegation is inconsistent with the

statute.

37.        The allegation contained in paragraph 37 purports to characterize and selectively quote a

Supreme Court decision. The decision speaks for itself and is the best evidence of its contents.

Federal Defendants deny the allegation to the extent the allegation is inconsistent with the

decision.

                        FACTUAL BACKGROUND AND ALLEGATIONS

38.        Federal Defendants admit that Sea Island is one of a series of barrier islands off the coast

of Georgia and that the island is four and half miles long. With respect to the remaining

allegations contained in the first sentence, Federal Defendants lack knowledge or information

sufficient to form a belief as to the truth of the allegations regarding the width of the island, and,

on that basis, deny the allegation. Federal Defendants admit the allegations contained in the

second sentence in paragraph 38.

39.        The allegations contained in paragraph 39 consist of Plaintiffs’ opinion and

characterization of a portion of Sea Island referred to as the Spit, and requires no response. To

the extent a response is required, Federal Defendants admit only that the Spit is located at the

southern end of Sea Island. The remaining allegations are too vague and ambiguous to permit a

response, and are on that basis denied.

40.        The allegations contained in paragraph 40 consist of Plaintiffs’ opinion and

characterization of a portion of Sea Island referred to as the Spit, and requires no response. To




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the extent a response is required, the allegations are too vague and ambiguous to permit a

response, and are on that basis denied.

41.    Federal Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in the first, second, and third sentences of paragraph 41. The

allegation contained in the fourth sentence of paragraph 41 purports to characterize the Permit.

The Permit speaks for itself and is the best evidence of its contents. Federal Defendants deny the

allegations to the extent the allegations are inconsistent with the Permit.

42.     The allegations contained in paragraph 42 constitute legal conclusions, to which no

response is required. In addition, Federal Defendants lack knowledge or information sufficient

to form a belief as to the truth of the allegations contained in paragraph 42 and, on that basis,

deny the allegations.

43.    Federal Defendants admit the allegations contained in the first two sentences of

paragraph 43. Federal Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in the last sentence of paragraph 43 and, on that basis, deny

the allegations.

44.    The allegations contained in the first sentence of paragraph 44 are too vague and

ambiguous to permit a response, and are on that basis denied. As to the remaining allegations in

Paragraph 44, Federal Defendants admit only that groins can affect the drift of sand around

barrier islands. The remaining allegations in Paragraph 44 consist of Plaintiffs’ opinion and

characterization of fact which requires no response. To the extent a response is required, the

allegations are too vague and ambiguous to permit a response and are denied on that basis.

45.    Federal Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegation contained in the first sentence of paragraph 45 and, on that basis, deny the



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allegation. The remaining allegation purports to characterize the Corps’ Coastal Engineering

Manual (“CEM”). The CEM speaks for itself and is the best evidence of its contents. Federal

Defendants deny the allegation to the extent the allegation is inconsistent with the CEM.

46.    The allegations in Paragraph 46 purport to characterize a joint statement of unidentified

geologists. The referenced statement speaks for itself and is the best evidence of its contents.

Federal Defendants deny any allegations to the extent the allegations are inconsistent with the

statement.

47.    Federal Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 47 and, on that basis, deny the allegations.

48.    The allegations contained in paragraph 48 appear to characterize the effects of groins

generally and on Sea Island, which are detailed in the Corps’ Environmental Assessment and

Statement of Findings for the Permit. The Corps’ Environmental Assessment and Statement of

Findings speak for themselves and are the best evidence of their contents. Federal Defendants

deny the allegations to the extent the allegations are inconsistent with the Environmental

Assessment and Statement of Findings. Any remaining allegations are denied.

49.    The allegation contained in paragraph 49 purports to characterize comments from the

U.S. Fish and Wildlife Service. The referenced comments speak for themselves and are the best

evidence of their contents. Federal Defendants deny the allegation to the extent the allegation is

inconsistent with the referenced comments.

50.    The allegations contained in paragraph 50 purport to characterize the initial Permit

application. The initial Permit application speaks for itself and is the best evidence of its

contents. Federal Defendants deny the allegations to the extent the allegations are inconsistent

with the initial Permit application.



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51.    The allegation contained in paragraph 51 purports to quote the initial Permit application.

The initial Permit application speaks for itself and is the best evidence of its contents. Federal

Defendants deny the allegations to the extent the allegations are inconsistent with the initial

Permit application.

52.    Federal Defendants admit the allegation contained in paragraph 52.

53.    The allegations contained in paragraph 53 purport to characterize comments submitted to

the Corps, which are detailed in the Corps’ Environmental Assessment. The referenced

comments speak for themselves and are the best evidence of their contents. Federal Defendants

deny the allegations to the extent the allegations are inconsistent with the referenced comments.

54.    Federal Defendants admit the allegations contained in the first and second sentences of

paragraph 54. Federal Defendants lack knowledge or information sufficient to form a belief as to

the truth of the remaining allegations contained in paragraph 54 and, on that basis deny the

allegations.

55.    The allegations contained in paragraph 55 purport to quote unspecified comments

submitted by the Georgia Department of Natural Resources. The comments speak for

themselves and are the best evidence of their contents. Federal Defendants deny the allegations

to the extent the allegations are inconsistent with the referenced comments.

56.    The allegations contained in paragraph 56 purport to characterize unspecified comments

from the U.S. Fish and Wildlife Service. The comments speak for themselves and are the best

evidence of their contents. Federal Defendants deny the allegations to the extent the allegations

are inconsistent with the referenced comments.

57.    Federal Defendants admit the allegation contained in the first sentence of paragraph 57.

The remaining allegations contained in paragraph 57 purport to characterize a March 6, 2018



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amended application. The amended application speaks for itself and is the best evidence of its

contents. Federal Defendants deny the allegations to the extent they are inconsistent with the

amended application.

58.    The allegations contained in paragraph 58 purport to characterize a March 6, 2018

amended application. The amended application speaks for itself and is the best evidence of its

contents. Federal Defendants deny the allegations to the extent they are inconsistent with the

amended application.

59.    The allegation contained in paragraph 59 purports to characterize a March 20, 2018

public notice for the amended permit application. The public notice speaks for itself and is the

best evidence of its contents. Federal Defendants deny the allegation to the extent the allegation

is inconsistent with the public notice.

60.    The allegation contained in paragraph 60 purports to characterize unspecified public

responses to the amended permit application. The referenced public responses speak for

themselves and are the best evidence of their contents. Federal Defendants deny the allegation to

the extent the allegation is inconsistent with the referenced responses.

61.    The allegations contained in paragraph 61 purport to characterize the Plaintiff’s own

public comments. The public comments speak for themselves and are the best evidence of their

contents. Federal Defendants deny the allegations to the extent the allegations are inconsistent

with the public comments.

62.    The allegations contained in the first sentence of paragraph 62 purport to characterize

Plaintiff’s comments on the revised permit application. The public comments speak for

themselves and are the best evidence of their contents. Federal Defendants deny the allegations

to the extent the allegations are inconsistent with the public comments. The allegations in the



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second sentence of paragraph 62 purport to characterize an October 2015 application and a

March 2018 revised application. The October 2015 application and March 2018 revised

application speak for themselves and are the best evidence of their contents. Federal Defendants

deny the allegations to the extent the allegations are inconsistent with the applications.

63.    Federal Defendants admit the allegations contained in paragraph 63.

64.    The allegation contained in paragraph 64 purports to characterize the Permit. The Permit

speaks for itself and is the best evidence of its contents. Federal Defendants deny the allegation

to the extent the allegation is inconsistent with the Permit.

65.    Federal Defendants admit the allegation contained in paragraph 65.

66.    The allegation contained in paragraph 66 purports to characterize and selectively quote

the Corps’ Environmental Assessment and Statement of Findings. The Corps’ Environmental

Assessment and Statement of Findings speak for themselves and are the best evidence of their

contents. Federal Defendants deny the allegation to the extent the allegation is inconsistent with

the Environmental Assessment and Statement of Findings.

67.    Federal Defendants deny the allegation contained in paragraph 67.

68.    The allegation contained in paragraph 68 purports to characterize the Corps’

Environmental Assessment and Statement of Findings. The Corps’ Environmental Assessment

and Statement of Findings speak for themselves and are the best evidence of their contents.

Federal Defendants deny the allegation to the extent the allegation is inconsistent with the

Environmental Assessment and Statement of Findings.

69.    The allegation contained in paragraph 69 purports to characterize the Corps’

Environmental Assessment and Statement of Findings. The Corps’ Environmental Assessment

and Statement of Findings speak for themselves and are the best evidence of their contents.



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Federal Defendants deny the allegation to the extent the allegation is inconsistent with the

Environmental Assessment and Statement of Findings.

70.     Federal Defendants deny the allegations contained in paragraph 70.

                                      CLAIMS FOR RELIEF

               I. FAILURE TO PREPARE AN EIS IN VIOLATION OF NEPA

71.     Federal Defendants incorporate by reference the answers contained in paragraph 1

through 70.

72.     Federal Defendants deny the allegations contained in paragraph 72 and deny any

violation of law.

73.     The allegation contained in paragraph 73 purports to characterize a federal statute. The

federal statute speaks for itself and is the best evidence of its contents. Federal Defendants deny

the allegation to the extent the allegation is inconsistent with the statute.

74.     The allegation contained in paragraph 74 purports to characterize a federal regulation.

The federal regulation speaks for itself and is the best evidence of its contents. Federal

Defendants deny the allegation to the extent the allegation is inconsistent with the regulation.

75.     The allegation contained in paragraph 75 purports to characterize a federal regulation.

The federal regulation speaks for itself and is the best evidence of its contents. To the extent the

allegation is inconsistent with the regulation, it is denied.

76.     The allegations contained in the first sentence of paragraph 76 purport to characterize the

Corps’ Environmental Assessment and Statement of Findings. The Environmental Assessment

and Statement of Findings speak for themselves and are the best evidence of their contents.

Federal Defendants deny the allegations to the extent the allegations are inconsistent with the

Environmental Assessment and Statement of Findings. Federal Defendants lack knowledge or



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information sufficient to form a belief as to the truth of the allegations contained in the second

sentence of paragraph 76 and, on that basis, deny the allegations.

77.    Federal Defendants deny the allegations contained in paragraph 77.

78.    Federal Defendants deny the allegations contained in paragraph 78.

79.    Federal Defendants deny the allegations contained in paragraph 79 and deny any

violation of law.

II. FAILURE TO COMPLY WITH THE CWA AND IMPLEMENTING REGULATIONS

80.    Federal Defendants incorporate by reference the answers contained in paragraph 1

through 79.

81.    The allegation contained in paragraph 80 purports to characterize a federal statute and

federal regulations. The federal statute and regulation speak for themselves and are the best

evidence of their contents. Federal Defendants deny the allegations to the extent the allegations

are inconsistent with the statute and regulations.

82.    The allegations contained in paragraph 82 purport to characterize and selectively quote a

federal regulation. The federal regulation speaks for itself and is the best evidence of its

contents. Federal Defendants deny the allegations to the extent the allegations are inconsistent

with the regulation.

83.    The allegations contained in paragraph 83 appear to characterize the Clean Water Act and

the Endangered Species Act. The statutes speak for themselves and are the best evidence of their

contents. Federal Defendants deny the allegations to the extent the allegations are inconsistent

with the statutes. Any remaining allegations are denied.

84.    Federal Defendants deny the allegations contained in paragraph 84.




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85.    Federal Defendants deny the allegation contained in the first sentence of paragraph 85.

The allegation contained in the second sentence of paragraph 85 purports to characterize and

selectively quote a federal regulation. The federal regulation speaks for itself and is the best

evidence of its contents. Federal Defendants deny the allegation to the extent the allegation is

inconsistent with the regulation. Federal Defendants deny the remaining allegations contained in

paragraph 85 and deny any violation of law.

86.    Federal Defendants deny the allegations contained in the first sentence in paragraph 86.

The remaining allegations contained in paragraph 86 constitute conclusions of law, to which no

response is required. To the extent a response is required, the allegations are denied.

87.    Federal Defendants deny the allegations contained in paragraph 87.

88.    Federal Defendants deny the allegations contained in the first sentence of paragraph 88

and deny any violation of law. The allegations contained in the second, third, fourth, fifth, and

sixth sentences of paragraph 88 purport to characterize and selectively quote federal regulations.

The federal regulations speak for themselves and are the best evidence of their contents. Federal

Defendants deny the allegations to the extent the allegations are inconsistent with the regulations.

Federal Defendants deny the allegation contained in the last sentence of paragraph 88 and deny

any violation of law.

89.    Federal Defendants deny the allegations contained in paragraph 89 and deny any

violation of law.

90.    Federal Defendants deny the allegations contained in paragraph 90 and deny any

violation of law.




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                                     PRAYER FOR RELIEF

       The allegations contained in this section of the Complaint constitute Plaintiffs’ prayer for

relief, to which no response is required. To the extent a response is required, Federal Defendants

deny that Plaintiffs are entitled to the relief requested or to any relief whatsoever.

                                   AFFIRMATIVE DEFENSE

       Venue in the Savannah District may be improper under Local R. 2.1(e).

                                       GENERAL DENIAL

       All allegations not specifically admitted herein are denied. In addition, Federal

Defendants deny any violation of law.

       WHEREFORE, Federal Defendants respectfully request that the Court enter judgment in

favor of Federal Defendants, dismiss this action with prejudice, and grant Federal Defendants

such additional relief as this Court deems appropriate.

 Respectfully submitted February 8, 2019 by       JEAN E. WILLIAMS
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